          Case 1:17-cv-00365-LY Document 149 Filed 08/27/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-LY
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )


       ADVISORY IN RESPONSE TO THE COURT’S AUGUST 16, 2018 ORDER

       Pursuant to the Court’s August 16, 2018 Order, Grande Communications Networks LLC

(“Grande”) submits this status update regarding Grande’s requests for financial information

concerning revenues generated by the works at issue in this case. See ECF No. 139 at 1-2. The

parties are actively meeting and conferring regarding the terms of an agreement that may resolve

this issue without further court intervention. The parties will provide a further report no later

than August 31, 2018 to inform the Court whether the issue has been resolved.




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          Case 1:17-cv-00365-LY Document 149 Filed 08/27/18 Page 2 of 2



Dated: August 27, 2018.


                                                    By: /s/ Richard L. Brophy
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 27, 2018, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                     /s/ Richard L. Brophy
                                                     Richard L. Brophy




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